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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

JAMES L. WILLIAMS, et al.          *
                                   *
               Plaintiffs          *
                                   *
, v.                               *       Civil Action 8:16-cv-00058-PX
                                   *
CORELOGIC RENTAL                   *
PROPERTY SOLUTIONS, LLC,           *
                                   *
               Defendant.
                                 *****
                         FINAL APPROVAL ORDER

       This matter, having come before the Court on Plaintiffs’ Motion for Final Approval

of the proposed class action settlement with Defendant, CoreLogic Rental Property Solutions,

LLC; the Court having considered all papers filed and arguments made with respect to the

settlement, and having provisionally certified, by Order entered October 5, 2017 a “File

Disclosure Settlement Class,” and the Court, being fully advised finds that:

        1. Certification for settlement purposes of the File Disclosure Settlement Class, as

defined by the Settlement Agreement proposed by the Parties in this case (ECF No. 103-3), is

appropriate pursuant to Federal Rules of Civil Procedure 23(a) and 23(b).

        2. Notice to the File Disclosure Settlement Class required by Rule 23(e) of the

Federal Rules of Civil Procedure has been provided in accordance with the Court’s

Preliminary Approval Order. Such Notice has been given in an adequate and sufficient

manner; constitutes the best notice practicable under the circumstances; and satisfies Rule

23(e) and due process.

        3. The Defendant has timely filed notification of this settlement with the appropriate

officials pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715.
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The Court has reviewed such notification and accompanying materials, and finds that the

Defendant’s notification complies fully with the applicable requirements of CAFA.

       4. The Settlement Agreement was arrived at as a result of arms-length negotiations

conducted in good faith by counsel for the parties and is supported by the parties.

       5. The settlement as set forth in the Settlement Agreement is fair, reasonable, and

adequate to the members of the File Disclosure Settlement Class in light of the complexity,

expense and duration of litigation and the risks involved in establishing liability, damages

and in maintaining the class action through trial and appeal.

       6. The relief provided under the settlement constitutes fair value given in exchange for

the release of claims.

       7. No persons have validly excluded themselves from the File Disclosure Settlement

Class in accordance with the provisions of the Preliminary Approval Order.

       8. The parties and each Class Member have irrevocably submitted to the exclusive

jurisdiction of this Court for any suit, action, proceeding, or dispute arising out of the

Settlement Agreement.

       9. It is in the best interests of the parties and the Class Members and consistent with

principles of judicial economy that any dispute between any File Disclosure Settlement Class

Member (including any dispute as to whether any person is a File Disclosure Settlement Class

Member) and any Released Party which in any way relates to the applicability or scope of the

Settlement Agreement or the Final Judgment and Order should be presented exclusively to this

Court for resolution by this Court.
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IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

       10. This action is a class action against Defendant, CoreLogic Rental Property Solutions,

LLC, on behalf of a class of consumers that has been defined as follows:

       File Disclosure Settlement Class: All persons residing in the United States
       of America (including its territories and Puerto Rico) who, from March 24,
       2014 through the date when the Court enters its Preliminary Approval Order,
       made a request pursuant to Section 609(a) of the FCRA [15 U.S.C. § 1681g(a)]
       for a copy of their consumer file and received a response containing at least one
       criminal record in their file, and whose file disclosure also contained one or
       more of the following phrases: “Statewide Criminal Search Report by
       Crimcheck America”; “Multistate Criminal Search Report by Crimcheck
       America”; or “Sex Offender Search Report by Crimcheck America.”

The File Disclosure Settlement Class does not include Defendant’s officers, directors, and

employees; Defendant’s attorneys; Named Plaintiffs’ attorneys; any Judge overseeing or

considering the approval of the Settlement together with members of their immediate family

and any judicial staff.

        11. The Settlement Agreement submitted by the parties for the File Disclosure

 Settlement Class is finally approved pursuant to Rule 23(e) of the Federal Rules of Civil

 Procedure as fair, reasonable, and adequate and in the best interests of the File Disclosure

 Settlement Class. The Settlement Agreement shall therefore be deemed incorporated herein

 and the proposed settlement is finally approved and shall be consummated in accordance with

 the terms and provisions thereof, except as amended or clarified by any subsequent order

 issued by this Court.

       12. This action is hereby dismissed on the merits, with prejudice and without costs.

       13. As agreed by the parties in the Settlement Agreement, upon the Effective Date,

the Released Parties shall be released and discharged in accordance with the Settlement

Agreement.
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       14. Without affecting the finality of this judgment, the Court hereby reserves and

retains jurisdiction over this settlement, including the administration and consummation of the

settlement. In addition, without affecting the finality of this judgment, the Court retains

exclusive jurisdiction over Defendant and each member of the File Disclosure Settlement Class

for any suit, action, proceeding or dispute arising out of or relating to this Order, the

Settlement Agreement or the applicability of the Settlement Agreement. Without limiting the

generality of the foregoing, any dispute concerning the Settlement Agreement, including, but

not limited to, any suit, action, arbitration or other proceeding by a File Disclosure Settlement

Class member in which the provisions of the Settlement Agreement are asserted as a defense

in whole or in part to any claim or cause of action or otherwise raised as an objection, shall

constitute a suit, action or proceeding arising out of or relating to this Order. Solely for

purposes of such suit, action or proceeding, to the fullest extent possible under applicable

law, the parties hereto and all File Disclosure Settlement Class are hereby deemed to have

irrevocably waived and agreed not to assert, by way of motion, as a defense or otherwise, any

claim or objection that they are not subject to the jurisdiction of this Court, or that this Court

is, in any way, an improper venue or an inconvenient forum.

       15. Upon consideration of Class Counsel’s application for fees and costs and other

expenses, the Court awards $277,152 as reasonable attorneys’ fees and reimbursement for

reasonable out-of-pocket expenses.

       16. Upon consideration of the application for an individual settlement and service

award, the Named Plaintiffs, James L. Williams and Hector D. Hernandez, are each awarded

the sum of two thousand five hundred dollars ($2,500), to be paid from the Settlement
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 Fund, in consideration of their individual claims against the Defendant and for the service

 they have performed for and on behalf of the File Disclosure Settlement Class.

         17. The Court finds, pursuant to Rule 54(b) of the Federal Rules of Civil Procedure,

  that there is no just reason for delay, and directs the Clerk to enter final judgment.



                                                        BY THE COURT



 04/05/2018                                                            /S/
Date                                                  Paula Xinis
                                                      United States District Judge
